Case 2:18-mj-00204_-BAT Document v11 Filed 05/25/18 Page 1 of 1

AO 442 (Rev. lllll) Arresl Wamml

UNITED STATES DISTRICT COURT
for the
Western District of Washington

 

 

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v. )
~) Case 'No. M]18-204 v
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) :Loon£o ____REcElvF.n
ARNoLoo Lueo FueNTEs )
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Dcfendan! MA¥ 2 5 2018
n ATASE TTLE
ARREST WARRANT wes?£§Wi>i’sin?éi‘§l°d£§iii»i§%~
BY

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistratejudge without unnecessary delay

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who is accused of an offense or violation based on the following documem filed with the court:

Cl lndictment Cl Superseding ln'diciment D lnf`ormation CI Superseding lnformation d Complaint
|`_'l probation Violation Petilion \‘J Supervised Release Violation Petition DViolation Notice Cl Order of the Court~

This offense is briefly described as follows:

Possesslon of Controlled Substances with lnteni to Distribute,' m violation of Tlile 21, United Stales Code. Section 841(a)
(1), 841(b)(1)(A) and 841 (b)(1)(B) and Title 1B, United Slates Code. Seclion 2

Date: 05/03!2018 M . .

I.rsuing ajicer ‘s`sigunrnrs

United States Ma istrate Jud e Brian A. Tsuchida

 

 

City and srate: Sealt|e. Washlngton

 

 

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` Return
This warrant was nece‘ fan (dme) 5/7£/ g , and the person was arrested on (dm¢) 5/7'3[ /g
tit (ciry and sla!e) 550){; , L\/A ".

 

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